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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:17-cv-21097-UU

  KATHLEEN MARSH,

          Plaintiff,

  v.

  CELEBRITY CRUISES, INC.,

          Defendant.
                                    /

                                              ORDER

          THIS CAUSE is before the Court upon the parties’ Joint Stipulation for Order of

  Dismissal with Prejudice (the “Stipulation”). D.E. 106.

          THIS COURT has reviewed the Stipulation and is otherwise fully advised in the

  premises. Accordingly, it is hereby

          ORDERED and ADJUDGED that pursuant to Fed. R. Civ. P. 41, all claims are

  DISMISSED WITH PREJUDICE.

          DONE AND ORDERED in Chambers at Miami, Florida, this 28th day of February,

  2018.



                                                            ________________________________
                                                            URSULA UNGARO
                                                            UNITED STATES DISTRICT JUDGE
  cc:
  counsel of record via cm/ecf
